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            IN THE UNITED STATES DISTRICT COURT OF MARYLAND
                           BALTIMORE DIVISION

                                                 *

CHANDRA BROOKS                                   *

                                                 *       Civil 1:17-CV-2940
      PLAINTIFF
                                                 *
vs.
                                                 *
SHOPRITE OF GLEN BURNIE, LLC
WAKERFERN FOOD CORP
AP CLEANING SERVICES, LLC                        *
     DEFENDANTS

*     *      *      *        *     *     *      *      *     *         *       *     *
                             Order Modifying Scheduling Order

      Upon consideration of Plaintiff’s Motion to Modify Scheduling Order, it is hereby

this____day of __________, 2018, ORDERED, that the Motion is GRANTED, it is further

ORDERED, that the Scheduling Order is modified as follows:

             May 24, 2018          Plaintiff’s Rule 26(a)(2) disclosures
             June 22, 2018         Defendants Rule 26(a)(2) disclosures
             July 6, 2018          Plaintiff’s rebuttal Rule 26(a)(2) disclosures

      It is further ORDERED, that all other deadlines stated in the Court’s March 13, 2018,

remain unchanged.


                             Signed this ___day of ________, 2018




                                          ________________________________
                                          Judge Catherine C. Blake
                                          United States District Court of Maryland
